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                      Exhibit A-2
                  Photos of Capitol
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Exhibit A-2 - Photos of Capitol                                                1
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Exhibit A-2 - Photos of Capitol                                                2
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Exhibit A-2 - Photos of Capitol                                                3
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Exhibit A-2 - Photos of Capitol                                                4
